JS 44 (Rev. 08/18)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

Place an “X” in the appropriate box ( ):

| Green Bay Division Milwaukee Division

 

I. (a) PLAINTIFFS

Ty'Rese West (DECEASED), The Estate of Ty'Rese West by Dwight

Person

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

StfSlisA AMO Hikes ata antes UAW 'OHeEe? LLC
413 North 2nd Street, Suite #150, Milwaukee, WI 53203
PH: 414-390-0820 FX: 414-220-5115

DEFENDANTS

NOTE:
THE TRACT

Attorneys (/f Known)

 

County of Residence of First Listed Defendant

Mt. Pleasant Police Officer, Sergeant Eric Giese

Milwaukee

(IN U.S. PLAINTIFF CASES ONLY)

OF LAND INVOLVED.

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

 

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

 

 

 

 

 

 

 

 

 

 

 

 

(For Diversity Cases Only) and One Box for Defendant)
O11 US. Government BB3 Federal Question PTF DEF PTE DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State Bi & 1 Incorporated or Principal Place O4 4
of Business In This State
O12 US. Government 04 Diversity Citizen of Another State O12 OD 2 Incorporated and Principal Place Os dO5
Defendant (Indicate Citizenship of Parties in Item ILL) of Business In Another State
Citizen or Subject of a O3 CO 3 Foreign Nation Oc O16
Foreign Country
IV. NATURE OF SUIT (lace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
0 110 Insurance PERSONAL INJURY PERSONAL INJURY [1625 Drug Related Seizure (0422 Appeal 28 USC 158 0 375 False Claims Act
0 120 Marine DF 310 Airplane (0 365 Personal Injury - of Property 21 USC 881 |) 423 Withdrawal OF 376 Qui Tam 31 USC
0 130 Miller Act 315 Airplane Product Product Liability (1690 Other 28 USC 157 372%a))
0 140 Negotiable Instrument Liability 0 367 Health Care/ 0 400 State Reapportionment
(150 Recovery of Overpayment |[) 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS DD 410 Antitrust
& Enforcement of Judgment Slander Personal Injury (820 Copyrights O 430 Banks and Banking
(151 Medicare Act CD 330 Federal Employers’ Product Liability (830 Patent 0 450 Commerce
C0 152 Recovery of Defaulted Liability C7 368 Asbestos Personal (835 Patent - Abbreviated 0 460 Deportation
Student Loans C0 340 Marine Injury Product New Drug Application |[ 470 Racketeer Influenced and
(Excludes Veterans) [D0 345 Marine Product Liability (840 Trademark Corrupt Organizations
(7 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY 0 480 Consumer Credit
of Veteran’s Benefits [1 350 Motor Vehicle 0 370 Other Fraud (1710 Fair Labor Standards (1861 HIA (1395ff) 1 485 Telephone Consumer
(2 160 Stockholders’ Suits LD 355 Motor Vehicle 0 371 Truth in Lending Act 0 862 Black Lung (923) Protection Act
C0 190 Other Contract Product Liability CD 380 Other Personal (720 Labor/Management 0 863 DIWC/DIWW (405(g)) |[ 490 Cable/Sat TV
0 195 Contract Product Liability {LJ 360 Other Personal Property Damage Relations (864 SSID Title XVI 0 850 Securities/Commodities/
0 196 Franchise Injury (0 385 Property Damage (1740 Railway Labor Act (865 RSI (405(¢)) Exchange
[362 Personal Injury - Product Liability (0751 Family and Medical 0 890 Other Statutory Actions
Medical Malpractice Leave Act OF 891 Agricultural Acts
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |(1)790 Other Labor Litigation FEDERAL TAX SUITS 0 893 Environmental Matters
(J 210 Land Condemnation bd 440 Other Civil Rights Habeas Corpus: [1791 Employee Retirement (1870 Taxes (U.S. Plaintiff 0 895 Freedom of Information
220 Foreclosure DD 441 Voting 0 463 Alien Detainee Income Security Act or Defendant) Act
1 230 Rent Lease & Ejectment {LJ 442 Employment 510 Motions to Vacate (871 IRS—Third Party 0 896 Arbitration
0 240 Torts to Land [ 443 Housing/ Sentence 26 USC 7609 0 899 Administrative Procedure

C0 245 Tort Product Liability
0 290 All Other Real Property

Accommodations

[CD 445 Amer. w/Disabilities -
Employment

[0 446 Amer. w/Disabilities -
Other

DD 448 Education

 

0 530 General
(1 535 Death Penalty
Other:

(0 540 Mandamus & Other

0 550 Civil Rights

(555 Prison Condition

0 560 Civil Detainee -
Conditions of
Confinement

 

IMMIGRATION

 

L462 Naturalization Application
(F465 Other Immigration
Actions

 

 

 

Act/Review or Appeal of
Agency Decision

1 950 Constitutionality of
State Statutes

 

V. ORIGIN (Place an “X” in One Box Only)

1 Original
Proceeding

2 Removed from
State Court

o3

Remanded from
Appellate Court

o*

Reinstated or
Reopened
(specify)

5 Transferred from
Another District

6 Multidistrict

Litigation - Transfer

8 Multidistrict
Litigation -
Direct File

 

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

42 U.S.C 1983 Excessive Force

 

Brief description of cause:

 

Excessive Force by Police

 

VII. REQUESTED IN

(1 #CHECK IF THIS IS A CLASS ACTION

DEMAND $
10,000,000.00

CHECK YES only if demanded in complaint:

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Re Yes ONo
VIII. RELATED CASE(S)
IF ANY (See instructions):
JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
12/17/2019 /s/ Atty. Paul A. Strouse

 

FOR OFFICE USE ONLY

RECEIPT #

 

Av@ase 2:19-cv-01844-PP Sid 12/17/19 Pag#4 of 1_ DocumeMt2P
